                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

IN RE:
                                                              Case No. 3:18-bk-04463
JOSEPH RAYMOND BILBAO,                                        Chapter 11

         Debtor.



                   BANK OF AMERICA’S OBJECTION TO CONFIRMATION

         COMES NOW, Bank of America, N.A. (“BANA”), and files this Objection to

Confirmation of the Debtor’s Chapter 11 Plan [Doc. 84], respectfully showing this Honorable

Court as follows:

         1.        BANA is the holder of Claim No. 19, which is loan secured by a vehicle owned

by the Debtor. The Debtor states that the value of this vehicle is $33,051.32. [Doc. 84] at p. 5.

The claim is in the same amount, with interest accruing at 6.04%. See [Claim No. 19-1].

         2.        The Debtor’s Plan provides for treatment of this claim in Class 3-B and states that

that BANA will be paid in full at 5.5% interest. [Doc. 84] at p. 5. The Plan then says that this

will be accomplished in 48 monthly payments in the amount of $628.44.

         3.        BANA objects to this proposed treatment, as payments of $628.44 over 48

months total only $30,165.12, which is less than the claim amount. Not only does this contradict

the Plan language that BANA will be paid in full with interest, as a fully secured creditor, BANA

is entitled to receive payment of its claim in full. See 11 U.S.C. § 1129(b)(2)(A)(i)(II). Because

the Plan does not propose to pay BANA in full with interest as required by both the Plan terms

and the Bankruptcy Code, it cannot be confirmed.

         WHEREFORE, BANA respectfully requests that this Court inquire into the matters

raised herein and deny confirmation of the Plan.

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       Respectfully submitted, this 28th day of February, 2020.

                                                   /s/ Bret J. Chaness
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 28th, 2020, a copy of the within and foregoing has been

served via CM/ECF and U.S. First Class Mail, postage prepaid, on the following:

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                                                    /s/ Bret J. Chaness
                                                    BRET J. CHANESS (BPR # 31643)




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